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     Federal Defender
2    MATTHEW C. BOCKMON, Bar #161566
     Assistant Federal Defender
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     Sacramento, California 95814
4    Telephone: (916) 498-5700
5    Attorneys for Defendant
     JAMES E. BLEDSOE
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7
8                         IN THE UNITED STATES DISTRICT COURT
9                       FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11
12   UNITED STATES OF AMERICA,       )       NO. CR-S-04-0026-WBS
                                     )
13                  Plaintiff,       )
                                     )       REQUEST FOR ORDER AND ORDER
14        v.                         )       EXONERATING BOND AND RELEASING
                                     )       PROPERTY
15   JAMES E. BLEDSOE and            )
     SUSAN E. D'ORTA, aka            )
16      Susan Mason                  )
                                     )
17                  Defendants.      )
                                     )
18   _______________________________ )
19          On January 23, 2008, following sentencing, this Court ordered the
20   exoneration of bond.     Defendant had been released in the Southern
21   District following a Fed.R.Crim.P. 40 proceeding in Case No. 04-mj-0214
22   JFS.
23          On February 10, 2004, by order of the Court, Case No. 04-mj-0214
24   JFS was transferred to the United States District Court for the Eastern
25   District of California, Case Number CR-S-04-0026 WBS. At the time the
26   case was transferred to the Eastern District, the original bond and
27   trust deed were sent to the Eastern District of California (docket
28   number 9 in Case Number 04-mj-0214 JFS).
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1          On January 23, 2008, defendant James Bledsoe was sentenced in this
2    case to probation of 36 months, and the minutes of the court reflected
3    that the bond was exonerated.
4          It is hereby requested that the $50,000 secured appearance bond be
5    exonerated in the above-captioned case and that the Clerk of the
6    District Court be directed to reconvey back to the Trustor the deed of
7    trust received by the Clerk of this court on or about February 19,
8    2004.
9          It is further requested that defendant’s property in the
10   possession of the Clerk of the Eastern District of California, denoted
11   by receipt number 5191 and receipt number 5192, be released.
12         Counsel for the government has no objection to this request.
13   Dated: January 25, 2008
                                              Respectfully submitted,
14
                                              DANIEL J. BRODERICK
15                                            Federal Defender
16                                            /s/ Matthew C. Bockmon
                                              ________________________________
17                                            MATTHEW C. BOCKMON
                                              Assistant Federal Defender
18                                            Attorney for Defendant
                                              JAMES E. BLEDSOE
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20
21
                                          O R D E R
22
23         IT IS HEREBY ORDERED that the bond in the amount of $50,000 posted
24   by Elena C. Bledsoe and secured by a Deed of Trust for her property
25   located at 805 Reef Drive, San Diego, California, is hereby exonerated
26   and the Clerk of the District Court is hereby directed to reconvey back
27   to the Trustor the deed of trust received by the Clerk on or about
28   February 10, 2004.


     Order Exonerating Bond                    2
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1          IT IS FURTHER ORDERED THAT defendant’s property in the possession
2    of the Clerk of the Eastern District of California, denoted by receipt
3    number 5191 and receipt number 5192, is hereby released.
4
     IT IS SO ORDERED.
5
     Dated: 01/29/08                         /s/ Gregory G. Hollows
6                                            _________________________________
                                             GREGORY G. HOLLOWS
7                                            United States Magistrate Judge
8    bledsoe.ord
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     Order Exonerating Bond                   3
